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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



 MARIO VINA,

 Plaintiff,


 vs.                                             Case No.:
 MERCANTILE ADJUSTMENT
 BUREAU, LLC,

 Defendant.
 _____________________________/


                                            COMPLAINT


         1.    Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15 U.S.C.

 1692 et seq. (“FDCPA”).

                                           JURISDICTION

         2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 1337, and pursuant to 15

 U.S.C. § 1692 et seq. (“FDCPA”).

         3.     This action arises out of Defendant’s violations of the FDCPA, and out of the

 invasions of Plaintiff’s personal and financial privacy by this Defendant and its agents in its

 illegal effort to collect a consumer debt from Plaintiff.

         4.     Venue is proper in this District because the acts and transactions occurred here,

 Plaintiff resides here, and Defendant transacts business here.




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                                                 PARTIES

            5.    Plaintiff, Mario Vina, is a natural person who resides in the City of Hialeah,

 County of Dade, State of Florida, and is a “consumer” as that term is defined by 15 U.S.C. §

 1692a(3).

            6.    Defendant Mercantile Adjustment Bureau, LLC, (hereinafter “Defendant

 Mercantile”) is a collection agency operating from an address of 6390 Main Street, Suite 160,

 Williamsville, NY 14221, and is a “debt collector” as that term is defined by 15 U.S.C. §

 1692a(6).

            7.    Defendant Mercantile regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

            8.    Defendant Mercantile regularly collects or attempts to collect debts for other

 parties.

            9.    Defendant Mercantile is a “debt collector” as defined in the FDCPA.

            10.   Defendant Mercantile was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                     FACTUAL ALLEGATIONS

            11.   Plaintiff incurred a financial obligation that was primarily for personal, family or

 household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

            12.   Sometime thereafter, the debt was consigned, placed or otherwise transferred to

 Defendant for collection from this Plaintiff.

            13.   Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.




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                                      COLLECTION CALLS

        14.     In or about November, 2011, Defendant Mercantile’s collectors contacted

 Plaintiff by telephone multiple times in an effort to collect this debt, which were

 “communications” in an attempt to collect a debt as that term is defined by 15 U.S.C. § 1692a(2).

        15.     During these November, 2011 calls, Defendant left voice mails on Plaintiff’s

 answering machine, and failed to identify themselves as debt collectors.

                                            SUMMARY

        16.     All of the above-described collection communications made to Plaintiff by

 Defendant Mercantile, and collection employees employed by Defendant Mercantile, were made

 in violation of numerous and multiple provisions of the FDCPA, including but not limited to 15

 U.S.C. § 1692(d)6, and 1692e(11).

        17.     During its collection communications, Defendant and the individual debt

 collectors employed by Defendant Mercantile failed to provide Plaintiff with the notice required

 by 15 U.S.C. § 1692(d) 6, and 1692e(11), amongst others.

        18.     The above-detailed conduct by this Defendant of harassing Plaintiff in an effort to

 collect this debt were violations of numerous and multiple provisions of the FDCPA, including

 but not limited to all of the above mentioned provisions of the FDCPA.

                                         TRIAL BY JURY

        19.     Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

 so triable. US Const. amend. 7. Fed.R.Civ.P. 38.




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                                         CAUSES OF ACTION

                                                COUNT 1

                 VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                                   15 U.S.C. § 1692 et seq.

           20.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

 as though fully stated herein.

           21.     The foregoing acts and omissions of the Defendant and its agents constitute

 numerous and multiple violations of the FDCPA including, but not limited to, each and every

 one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

           22.     As a result of the Defendant’s violations of the FDCPA, Plaintiff is entitled to

 statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

 reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

 herein.

                                                COUNT 2

                   FAILURE TO DISCLOSE STATUS AS A DEBT COLLECTOR

           23.     Defendant failed to disclose in the telephone messages that it is a debt collector in

 violation of 15 U.S.C. 1692e(11).

           WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

 Plaintiffs and against Defendant for:

 a)    Damages and

 b)    Attorneys’ fees and costs.




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                                              COUNT 3

              FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

        24.     Defendant placed telephone calls to Plaintiff without making meaningful

 disclosures of its identity when it failed to disclose that they were debt collectors, and the

 purpose of Defendant’s communications in the telephone messages in violation of 15 U.S.C.

 1692d(6).

        WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

 Plaintiff and against Defendant for:


 A)    Damages and

 B)   Attorneys’ fees and costs.

                                        PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays that judgment be entered against the Defendant.


 Dated: October 4, 2011                         Respectfully submitted,


                                                /s Andrew I. Glenn________________
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